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                      UNITED STATES BANKRUPTCY COURT
                       SOUTHERN DISTRICT OF ILLINOIS

In re:                                )
                                      )             Case No. 21-30886
Phyllis Marie Morrison                )
                                      )             Chapter 13
                                      )
         Debtor.                      )             CERTIFICATION AND ORDER
                                      )


         AGREED ORDER RESOLVING DEBTOR’S MOTION TO RETAIN
                       SETTLEMENT PROCEEDS

         The matter before the Court is the Debtor’s Motion to Retain Settlement Proceeds
in the amount of $8,650.53 (the “Motion”) (Doc # 73). The parties by and through their
counsel have advised the Court that they have reached an agreement regarding the
Objection and upon careful review of the record in this case, it is accordingly
         ORDERED that the Motion is hereby SETTLED as filed,
         IT IS FURTHER ORDERED that the Debtor will provide proof that the
Medical Bills have been paid within 45 days of the entry of this Order, and if not, the
settlement proceeds not used to pay medical bills will be turned over to Chapter 13
Trustee within 45 days of the date of this Order.
         IT IS FURTHER AGREED that upon entry of this Order, the Trustee’s
Objection to the Motion to Approve Settlement/Compromise Controversy (Doc. 71) is
hereby withdrawn. A separate order shall enter granting the Debtor’s Application to
Approve Settlement/Compromise Controversy (Doc. 69).
         FINALLY, IT IS ORDERED that the hearing on this matter scheduled for
March 9, 2023 is CANCELED.
         Counsel for the moving party shall serve a copy of this Order by mail to all
interested parties who were not served electronically.



ENTERED: February 24, 2023
                                                      /s/ Laura K. Grandy
                                      __________________________________________________________________________________________

                                          UNITED STATES BANKRUPTCY JUDGE/3
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Respectfully Submitted                          Respectfully Submitted
/s/ Russell C. Simon                            /s/Tobias Licker
Russell C. Simon
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